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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff,

 vs                                                   Case No: 05-80025
                                                      Honorable Victoria A. Roberts
 TIMOTHY O’REILLY,

      Defendant.
 ______________________________/

                                  OPINION AND ORDER


 I. Objections to the PSIR

       A. Maximum Penalty for Count 5 (Preamble Page 2; Paragraph 110)

       Page 2 and Paragraph 110 of the PSIR say the maximum term of imprisonment

 for Count 5 is 20 years pursuant to 18 U.S.C. § 2113(a). The Government says the

 maximum is 25 years pursuant to 18 U.S.C. § 2113(d). The Court agrees with the

 Government.

       18 U.S.C. § 2113 states:

       (a) Whoever, by force and violence, or by intimidation, takes or attempts to
       take, from the person or presence of another, or obtains or attempts to
       obtain by extortion any property or money or any other thing of value
       belonging to, or in the care, custody, control, management, or possession
       of, any bank, credit union, or any savings and loan association; . . . Shall
       be fined under this title or imprisoned not more than twenty years, or both.
               ...
       (d) Whoever, in committing, or attempting to commit, any offense defined in
       subsections (a) and (b) of this section, assaults any person, or puts in jeopardy
       the life of any person by the use of a dangerous weapon or device, shall be fined
       under this title or imprisoned not more than twenty-five years, or both.



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         According to the verdict form, the jurors found Defendant guilty of Count 5 (bank

 robbery at Comerica Bank on June 19, 2003), and also found Defendant guilty of

 assaulting Jonathan Smith or putting Jonathan Smith’s life in jeopardy by the use of a

 dangerous weapon during the commission of the bank robbery. Therefore, 18 U.S.C.

 2113(d) applies, and the PSIR should reflect the maximum penalty of 25 years

 imprisonment.

         B. O’Reilly attended a meeting in November 2001 (Paragraph 22)

          Defendant objects to the following sentence in the PSIR: “In approximately June

 2001, planning of the DFCU robbery began with O’Reilly, Johnson, Wilson, Watson, and

 Duncan participating in several meetings.” PSIR, ¶ 22, sentence 2. Defendant says the

 testimony at trial does not establish that Defendant participated in any planning

 meetings prior to November 2001. The Court agrees.

         Khayyam Wilson testified that Defendant was at a planning meeting in November

 of 2001. The Court has found no testimony that places him at a planning meeting prior

 to this date. After reviewing the testimony of Wilson, the Court finds that Defendant

 began attending planning meetings no earlier than November 2001. See Doc. 644 at

 58, Tr. trial vol. 6.

         C. O’Reilly shot Norman Stephens (Paragraph 26)

         Defendant objects to the sentence in the PSIR that says he shot Norman

 Stephens during the Dearborn robbery. (¶ 26, last sentence). Defendant asks the Court

 to strike the sentence because the jury did not find that the Government proved beyond

 a reasonable doubt that Defendant intentionally killed Stephens. See Sp. Verdict Form.



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 The Court declines to do so.

       Defendant, in a recorded conversation with Barron Nix-Bey, admitted he shot a

 guard in the Dearborn robbery. Dominic Young-Guidice testified that Defendant

 admitted that he shot a guard during the Dearborn robbery. Doc. 648 page 6-7, Tr. Trial

 vol. 9. Archie Broom also testified that Defendant said he shot a guard during the

 Dearborn robbery. Doc. 648 at 73, 75, Tr. Trial vol. 9. And, Zoulefikar Nehmeh testified

 that Defendant said that he shot the guard because the guard was reaching for his gun.

 Doc. 645 at 37-38, Tr. Trial vol. 7. The Court finds that the testimony shows by a

 preponderance of the evidence that Defendant shot Stephens during the Dearborn

 robbery. The sentence will remain unchanged.

       D. The money was split at Birwood St. in Detroit, Michigan (Paragraph 29)

       Defendant objects to PSIR paragraph 29 which states that the Dearborn robbery

 money was split at the home of Defendant and Duncan on Birwood Street in Detroit.

 Defendant says this is contrary to trial testimony. Defendant also objects to the

 statement that McAfee and Mumphord attended the meeting.

       After reviewing the testimony of Archie Broom, the Court changes paragraph 29

 in the following ways: The Court strikes the sentence in the middle of the paragraph

 which states: “The meeting was referred to as the ‘Birwood money split.’” The Court

 alters the next sentence to state: “The meeting was attended by Broom, Duncan,

 O’Reilly, Latanya Duncan (Duncan’s wife), Darryl “Spoony” McAfee, Steven “Big Steve”

 Mumford, Kevin Watson, and an individual known as “Black James” or “Fat James.”

 The Court strikes the remaining portion of that sentence. The Court adds the sentence:

 “The money was given to these individuals.” The remainder of the paragraph will

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 remain unchanged. These changes are based on the testimony of Archie Broom. Doc.

 648 at 68-71, Tr. Trial vol. 9.



        E. Adjustment for Role in the Offense (Paragraph 49)

        The Government objects to paragraph 49 of the PSIR because it says that there

 is sufficient evidence for the Court to apply a four level increase for Defendant’s role in

 the Dearborn robbery as an organizer/ leader. Based on trial testimony, the Court

 believes that the Defendant does not fit the Guideline definition of an organizer or

 leader.

        Under § 3B1.1(a), “If a defendant was an organizer or leader of a criminal activity

 that involved five or more participants or was otherwise extensive, increase by 4 levels.”

 Application note 2 states: “To qualify for an adjustment under this section, the defendant

 must have been the organizer, leader, manager, or supervisor of one or more other

 participants.” “The United States has the burden of proving the applicability of the

 enhancement under § 3B1.1 of the Sentencing Guidelines by a preponderance of the

 evidence.” United States v. Finkley, 324 F.3d 401, 403 (6th Cir. 2003).

        The Court is mindful that only one juror found that Defendant established by a

 preponderance of the evidence, that he was not a planner or organizer in the Dearborn

 Federal Credit Union robbery. However, the Court believes that the trial testimony does

 not establish that Defendant organized, led, managed, or supervised another

 participant.

        Matthews testified that Johnson came to him with the plan to rob the Dearborn

 Federal Credit Union. Mathews testified that Johnson told him that he (Johnson)

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 investigated and researched, and had inside information. Matthews met Defendant for

 the first time on the night of the aborted robbery. They got together for the successful

 robbery a few nights later. When the robbery was complete, Duncan split the money.

 Matthews testified that Duncan did most of the talking, and that he barely heard

 Defendant speak.    Khayyam Wilson testified that Earl Johnson contacted him to be

 part of a robbery in June or July 2001. When he left this meeting with Johnson in June

 or July of 2001, Johnson did not tell him anyone else was involved. Wilson testified that

 in November there was a planning meeting at Duncan’s house. Defendant was there.

 However, Wilson testified that Johnson was the one with the information on when to do

 the robbery, and Duncan planned how to do it.

       Archie Broom testified on direct examination that he heard Duncan and

 Defendant plan the robbery at the motorcycle club. However, on cross examination

 Broom said he told the FBI that Defendant would do whatever Duncan told him to do,

 and Duncan was the dominant person.

       Although there is evidence that Defendant may have participated in the planning

 of the robbery, there is no evidence that he organized, managed, supervised, or led

 another participant. To the contrary, the evidence shows that Defendant was led by

 others. The Court declines to increase Defendant’s offense level by four points.

       F. Adjustment for Serious Bodily Injury (Paragraph 55)

       Defendant objects to a four level increase under § 2B3.1(b)(3)(B). He says

 Jonathan Smith did not suffer a serious bodily injury during the Comerica robbery, and

 that the evidence does not support this enhancement. The Court disagrees.

       Section 2B3.1(b)(3)(B) says that if a victim sustained serious bodily injury,

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 increase the offense level by 4. Section 1B1.1 Application note 1(L), defines serious

 bodily injury as an “injury involving extreme physical pain or the protracted impairment

 of a function of a bodily member, organ, or mental faculty; or requiring medical

 intervention such as surgery, hospitalization, or physical rehabilitation.”

         Jonathan Smith, a guard, testified that he was shot in the calf of his right leg

 during the Comerica robbery. He suffered a through and through wound, meaning the

 bullet entered and exited his calf. He was transported by ambulance from the scene to

 Sinai Grace Hospital, where he was given medication and his wound was “patched up.”

 However, his wound later became infected, and he went to Henry Ford Hospital, where

 doctors “cut out” the infection.

         Smith’s gunshot wound qualifies as a “protracted impairment” of a “bodily

 member”--his leg. When Smith got the infection cut out, this was a surgery. The Court

 finds that the 4 level increase for serious bodily injury is appropriate.

         G. Adjustment for Role in Offense (Paragraph 58)

         The PSIR adds four points to Defendant’s offense level for the Comerica robbery,

 as an organizer or leader pursuant to § 3B1.1(a). Section 3B1.1(a) states: “If the

 defendant was an organizer or leader of a criminal activity that involved five or more

 participants or was otherwise extensive, increase by 4 levels.” Both parties agree that

 this increase is inapplicable; the Comerica robbery involved less than 5 participants.

 The Court agrees as well, and declines to increase the offense level for the Defendant’s

 role.




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        H. Adjustment for Body Armor (Paragraph 59)

        Defendant objects to a four level increase for the use of body armor under §

 3B1.5 in paragraph 59 of the PSIR. Defendant says that this increase should not apply

 to him because the guideline provision became effective after the date of the offense.

 The Defendant is correct; this four level increase does not apply.

        I. Adjustment for Obstruction of Justice (Paragraph 60)

        Defendant objects to the two level increase for obstruction of justice in the PSIR

 for the Comerica robbery. Defendant says that the Court should not rely on the

 testimony of witnesses Zoulefikar Nehmeh and Dominic Young-Guidice because they

 lack credibility and their testimony does not establish a substantial basis for the

 adjustment. The Court disagrees.

        Section 3C1.1 states: “If (A) the defendant willfully obstructed or impeded, or

 attempted to obstruct or impede, the administration of justice with respect to the

 investigation, prosecution, or sentencing of the instant offense of conviction, and (B) the

 obstructive conduct related to (i) the defendant’s offense of conviction and any relevant

 conduct; or (ii) a closely related offense, increase by 2 levels.” Application note 4(A)

 says that an example of the type of conduct to which this adjustment applies is

 “threatening, intimidating, or otherwise unlawfully influencing a . . . witness . . ., directly

 or indirectly, or attempting to do so.”

         After a review of their testimony, the Court finds that the witnesses Nehmeh and

 Guidice establish, by a preponderance of the evidence, that Defendant attempted to

 have witnesses killed to prevent them from testifying against him. Nehmeh testified that



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 Defendant asked him to kill three witnesses, Khayyam Wilson, Henry Matthews, and

 Barron Nix-Bey, to prevent them from testifying against him. Doc. 645 at 32. Guidice

 testified that Defendant asked him to kill Archie Broom because he was cooperating

 with the government. Doc. 648 at 10-14. The 2 point increase in paragraph 60 is

 appropriate because both Broom and Nix-Bey had information about the Comerica

 robbery that could be used against Defendant.

 II. Defendant’s Guidelines Calculations

       With this resolution of objections, probation’s calculations for Group 1 remain the

 same (¶ 46-51); the adjusted offense level for Group 1 is 45.

 Revised Calculations for Group 2:

 53.   Base Offense Level for violation of 18 U.S.C. § 2113 is located at
       § 2B3.1, which establishes a base offense level of 20.                      20

 54.   Specific Offense Characteristic: Pursuant to § 2B3.1(b), the offense
       level is increased by 2 because property of a financial institution
       was taken.                                                                  +2

 55.   Specific Offense Characteristic: Pursuant to § 2B3.1(b)(3)(B),
       the offense level is increased by 4 because the victim sustained
       serious bodily injury.                                                      +4

 56.   Specific Offense Characteristic: Pursuant to § 2B3.1(b)(7)(C), the offense
       level is increased by two, because the loss exceeded $50,000 but was less
       than $250,000.                                                             +2

 57.   Victim related adjustment: None

 58.   Adjustment for Role in the Offense: None

 59.   Adjustment for Use of Body Armor: None

 60.   Adjustment for Obstruction of Justice: Increase 2 levels pursuant to
       § 3C1.1                                                                     +2



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 61.     Adjusted Offense Level (Group 2 Subtotal):                                  30

 Multiple Count Adjustment
                                                                                 Units
 Group 1 (Counts 1-3)

 64. Adjusted Offense Level ...................................45                    1

 Group 2 (Counts 4-5)

 65. Adjusted Offense Level.....................................30                   0

 66. Total Number of Units (§ 3D1.4)                                                 1
       Greater Adjusted Offense Level....................45

 67. Increase in Offense Level....................................0

 68. Combined Adjusted Offense Level.....................45

 69. Adjustment for Acceptance of Responsibility: None

 70. Total Offense Level                                                             45

 71. Chapter 4 Enhancement: None

 72. Total Offense Level:                                                            45


 III. Conclusion

         Mr. O’Reilly’s offense level is 45. His criminal history category is V. Defendant

 faces a mandatory life sentence.


                                                  /s/ Victoria A. Roberts
                                                  Victoria A. Roberts
                                                  United States District Judge

 Dated: February 8, 2011




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   The undersigned certifies that a copy of this
   document was served on the attorneys of
   record by electronic means or U.S. Mail on
   February 8, 2011.

   s/Linda Vertriest
   Deputy Clerk




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